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          EXHIBIT 23
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1     Call Date:     2019-01-03

2     Call Duration:        07:42

3     Call Begin:    20:28:18

4     Participants

5        RICK SINGER

6        JOHN WILSON

7     File Name:     9163848802       2019-01-03     20-28-18 13940-001.wav

8


9

10     WILSON:     Hey, Rick,       how are you?

11     SINGER:     I'm good, John. How are you doin'?

12     WILSON:     I'm doin' well. Happy New Year.

13     SINGER:     Happy New Year. Where are you today?

14     WILSON:     Ah, I'm in, uh, Houston.           Back in Houston.

15     SINGER:     OK. Did you guys go anywhere             for the -

16    WILSON:      [OV/IA] the kids, and, uh, we took             'em to Cuba

17                 for Christmas       for a week. That was a pretty,         uh-

18                 pretty,    uh eye opening uh -

19    SINGER:      Cu ...

20    WILSON:      - [IAJ, yeah.

21    SINGER:      That was cool. That was cool.

22    WILSON:      'Cause I'd been there, but, uh ... Have you ever been

23                 there?

24    SINGER:      I have never been there, a-and            it's somethin' we



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1                 alway--     I've always       thought    about doin', but i-is

2                 it - is it worth goin'?

3      WILSON:    Well,    it's eye-opening        in a lot of ways. We've been

4                 to a lot of, like, third-world               countries,   Africa.

5                 You see people,      like,      [IA] living     in dung huts, you

6                 know, kinda hunter/gatherer              kind of rural poverty,

7                 but here you have a country              where even the most

8                 highly-educated      people,      people     who had, like, 3

9                 PhDs, medical doctors           [inaudible],     the maximum     pay

10                you can get in the country              is $25 a month.    Per

11                month!

12     SINGER:    Really?

13     WILSON:    That's     the maximum,       right? The whole     Communist

14                thing. And the average           worker    gets,   like, 12 to 15.

15                But the cost of living is huge. The cost of

16                living's     $100 a month       for an apartment,     a 2-bedroom

17                apartment     with no windows,          no heat, no hot water, no

18                potable     water. And you have to take bucket,             you

19                know, sponge     showers. And they have to live with 8

20                income-earners      in a -- in a hotel,          or in a -- in an

21                apartment,     usually       3 generations    of the family and

22                brothers    and sisters and stuff, and kids, to share,

23                just to make     the ends meet,          'cause they only get

24                paid    25 at best, and you, you have to pay 100,



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1                 you know?     [laughter] And, uh, they get --

2      SINGER:     [OV] That's unbelievable.

3      WILSON:    -- 5 pounds     of rice. It's unbelievable.             You get 5

4                 pounds     of rice ... [IA] where, you know, we met

5                 people        professors       and doctors and stuff.         A lot

6                 of them had worked           in the Soviet union        [IA] the

7                 people,     and had been over, you know,             in Afghanistan.

8                 Some of them had been over fighting              for them, had

9                 been over in the Soviet Union doing stuff, had been

10                in Venezuela,       had been in North Korea, you know,

11                basically     working    for the Soviets       during    their -

12                when they were growing up their kinda things. Just a

13                wild experience.        These guys had nothing.          And my

14                daughter    said to me -- you know, college              kids who

15                had nothing     -- and the reason people         get all these

16                degrees     is because       college   is free, and when you're

17                in --

18     SINGER:    Right.

19     WILSON:    -- college,     as long as you're         qualified,     you get

20                free room and board,          too. So people    will stay there

21                and get, like, 4 PhDs -

22     SINGER:    Wow.

23     WILSON:    -- just to be on their own.             [laughter]    If you're

24                smart.     Crazy.



                                           3




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1      SINGER:    That's     -- that is

2      WILSON:    A good experience          for the kids.

3      SINGER:    Oh, absolutely.        And they -- obviously          they must've

4                 treated     you guys pretty well.

5      WILSON:    Oh yeah,     'cause we were giving           -- yeah,      like, we

6                 would     take   'em out to a dinner         with,   like, some of

7                 the professors        and stuff. You know, a $10 dinner,

8                 which was a luxury for them, at a kind of co-op

9                 restaurant,       whatever,     so it was OK, not great, and

10                these guys would be fawning              allover     us.    "Oh my God,

11                thank you. We could never have a dinner                    like this

12                on our own kind of thing." And it was Iike, wow.

13                And they would take our table scraps and bring                    'em

14                to their kids. I said, "Oh, shit, you know, can't

15                you bring your kids tomorrow               to dinner?      We'll bring

16                your     -- we'll,    we'll treat your kids __"

17     SINGER:    Right.

18     WILSON:    "      too." For 150 bucks you can treat a family of

19                10, and they're,           like, praising     you like you were

20                the second       coming.       [laughter]

21     SINGER:    Wow. That's       amazing.

22     WILSON:    It was really        eye-opening.       You know,    it's like,

23                wow ... I've never seen poverty              amongst,      you know,

24                highly-     educated       people   like that, at that level.



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1      SINGER:    It's incredible.        Incredible.

2      WILSON:    Yeah. And the reason         --

3      SINGER:    So

4      WILSON:         they have all those old cars, cars were like 40

5                 grand,     and no one could -- that's        200 years'

6                 salary     [IA]--

7      SINGER:    Right.     [laughter]

8      WILSON:    -- 200 years'       salary. And so the reason         they hold

9                 these old 1950s cars is 'cause they inherited                 that

10                from their great-grandfather.            They never    sell a car,

11                never    break a car up or anything.         They just keep

12                repairing     it and repairing        it. There's   a whole

13                cottage    industry     of a lot of blacksmiths        who make -

14                custom    make, you know, forgings         and parts    to repair

15                all these     '50s cars.

16     SINGER:    Wow.

17     WILSON:    And the only people who can buy new cars are the

18                government     agencies,    with taxis, or the government

19                bureaucrats,     who get their own Mercedes           and stuff,

20                you know. But the population,            uh, has very few cars

21                to begin    with. But if you have a car in your family,

22                you're,     like, rich,     'cause you can make --

23     SINGER:    Wow.

24     WILSON:    - like, 50 bucks a day, you know, renting               it as a



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1                 taxi.

2      SINGER:    That's    amazing.

3      WILSON:     [laughter]   It's crazy.

4      SINGER:    Amazing.    Amazing.

5      WILSON:    That's    why half the cars are 1950 --

6      SINGER:    Right.

7      WILSON:          [OV/IA] cars, so ...

8      SINGER:    Right.

9      WILSON:    They just keep using ...

10     SINGER:    So, uhf so I wanted          to touch base with you,       'cause I

11                wanted    to, urn, just let you know, everything's               -

12                we're,    we're    in good shape. No issues        --

13     WILSON:    OK.

14     SINGER:          at all, urn, both at Stanford and Harvard.               Urn, 1

15                of the things       I just wanted       to really make sure,

16                'cause, urn, this has k-kinda            come back to me, not

17                because    of you guys but for other          families    that

18                we've    gone through the side door --

19     WILSON:    Yeah.

20     SINGER:          is that I just gotta make sure that you guys

21                don't    get engaged     at Stanford      or Harvard    with

22                anybody in Admissions          or Development    or anything, through all

23                that you guys keep your name out of that world.                   Is,

24                urn, is that--is       that OK?



                                           6




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1      WILSON:    Yeah,    so what does that mean, don't get engaged?

2                 Like    --

3      SINGER:    So

4      WILSON:         if they want to go to --

5      SINGER:         so, like --

6      WILSON:         the school and visit and all that stuff?

7      SINGER:    No, no, no, that's fine. That's all good. The issue

8                 is, like, I've had f-- uh, families             before that

9                 essentially     have gone through         the side door, and

10                then because     people    found out who they were, the

11                Development     office calls them, Admissions          will call

12                them, all trying to get, you know, donations,                 and,

13                urn, so then as soon as your name is known amongst

14                those other groups,        then people      start saying, on the

15                Athletics     side, since we're goin' through          the side

16                door, and you've already made, you know, 2 $500,000

17                contributions,     they're gonna say, "So, you know, so

18                why are you goin' through Athletics,            urn, you know,

19                when Development      has already       been talking   to you?     II




20                You know what I'm sayin'?             So what I'm just tryin' -

21                - so what     I try to do is get all my families          to just

22                stay quiet,     don't get involved with anybody          at

23                Stanford     or Harvard,    and know that everything          is

24                taken care of through        the side door,      through, uh,



                                         7




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1                 Athletics.

                                              r
2      WILSON:    OK, so are they both gonna be ... ? I wasn't              sure how

3                 they're    gonna be handled,          and how do you want to

4                 handle    that with the girls. Urn --

5      SINGER:    So w-when    we get around      to that point      -- let's just

6                 get our scores,       let's get our grades,        and then I

7                 will give you the exact direction,            urn, that we'll go

8                 through,     kinda like what we did with Johnny.            We went

9                 - Johnny    went, you know, right to water polo. And

10                for the girls,       I'll probably      just go to, urn, b-2

11                sports,    sailing    and crew, and just walk          'em right

12                through    as a, uh, recruited         walk-ons.

13     WILSON:     OK.

14     SINGER:     And then everything        will go smoothly,      and, uh, we

15                 should have no issues.          But my only thing to you

16                 was I just wanna make sure -- because,             you know,

17                 you're a known entity,         a known family,     and people

18                 know that you're       interested,      and they're    gonna say,

19                 "Hey, I can help you," or people            may call you, and

20                 I just want to say - you just say, "Hey, listen, we

21                 got -- we -- we're taking care of things ourself.

22                 We have it all. Girls are great            students.    We're

23                 just gonna apply on our own."

24     WILSON:    OK, so just kind of -- just say we're applying                   on



                                          8




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1                  our own, nothing ...

2      SINGER:    Correct,     nothing,       nothing   -- no side doors.     We're

3                 not doing    anything       --

4     WILSON:     Yeah, don't mention           about that, right.

5     SINGER:     -- where     -- yeah          where you're     makin'   a payment

6                  to help the kids get into school.

7     WILSON:     Right,    OK. That sounds good. Things            calmed down

8                  for you otherwise,          or no more    [OV/UI]?

9     SINGER:     Yeah, yeah, we're           -- I, I just g-- I got -- yeah,

10                we -- um, I gotta get through              another    couple days,

11                and then I should be in pretty              good shape.

12    WILSON:     Cool. Now, when do the girls actually                 have to start

13                writing    applications,         all that stuff?

14    SINGER:     Oh, it's --

15    WILSON:     [OVIIA] summer?

16    SINGER:     -- June 15th. Yeah, June 15th we'll               start   that

17                whole,    uh, writing        the essays    and, uh,

18                applications.

19    WILSON:     OK, in June, OK.

20    SINGER:     Yeah.

21    WILSON:     All right. And then, um, in terms of you and I

22                having a conversation            on pricing,   I'd happy    -- be

23                happy to go ahead and            [OV/IA]

24    SINGER:     No, uh, I'll -- we'll get a-- I'll get around to



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1                 that. Let me just kinda get -- I gotta get

2                everybody     situated     and done, and then I'll get back

3                 to you on that.

4    WILSON:     OK, sounds good.

5    SINGER:     All right,    John.        Thanks    so much.

6    WILSON:     All right,     thanks. All right.

7    SINGER:     OK. Take care.



                              END OF AUDIO FILE




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